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                          IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA,                               RESPONSE TO UNITED STATES’
                                                         MOTION TO AMEND JUDGMENT TO
         Plaintiff,                                           INCLUDE FORFEITURE

  vs.                                                           Case No. 2:19-CR-00260

  ARINOLA ADEGBORUWA,                                             Judge Jill N. Parrish
                                                          Magistrate Judge Cecelia M. Romero
         Defendant.


        DEFENDANT TO THE ABOVE-ENTITLED ACTION, Arinola Adegboruwa, by and

 through her counsel of record, Mary C. Corporon, hereby responds to the United States’ Motion

 to Amend Judgment to Include Forfeiture, and states, as follows:

        1. Defendant, Arinola Adegboruwa, does not object to the forfeiture to the government of

 any of the seized assets in issue in this matter.

        2. However, Defendant asserts that it is not strictly proper to declare said assets forfeited

 as to her, because she does not have an ownership interest in said assets, never had an ownership

 interest in said assets, and wishes it to be clear on the record of this court that these assets have

 never been hers.



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        DATED this 29th day of July, 2024.


                                              /s/ Mary C. Corporon
                                              MARY C. CORPORON
                                              Attorney for Defendant




                                   CERTIFICATE OF SERVICE

         I hereby certify that on the 29th day of July, 2024, I filed a true and correct copy of the

 foregoing with the Clerk of the Court using CM/ECF system, which sent notification of such filing

 to all those registered with CM/ECF to receive notices in the instant case.



                                       /s/ Michelle Beddoes Yeates




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